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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-1102V
                                      Filed: April 18, 2016
                                         UNPUBLISHED

****************************
LINDA GUSKY,                              *
                                          *
                     Petitioner,          *      Joint Stipulation on Damages;
                                          *      Influenza (“Flu”) Vaccine; Shoulder
v.                                        *      Injury Related to Vaccine Administration
SECRETARY OF HEALTH                       *      (“SIRVA”); Special Processing Unit
AND HUMAN SERVICES,                       *      (“SPU”)
                                          *
                     Respondent.          *
                                          *
****************************
Paul R. Brazil, Muller Brazil, LLP, Dresher, PA, for petitioner.
Lara Ann Englund, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Dorsey, Chief Special Master:

        On October 1, 2015, Linda Gusky (“petitioner”) filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq.,2 (the “Vaccine Act”). Petitioner alleges that she suffered from a shoulder injury
related to vaccine administration (“SIRVA”) as a result of an influenza (“flu”) vaccine she
received on September 10, 2014. Petition at 1; Stipulation, filed 4/18/2016, at ¶ 4.
Petitioner further alleges that she suffered the residual effects of this injury for more
than six months. Petition at 3; Stipulation at ¶ 4. “Respondent denies that the flu
vaccine is the cause of petitioner’s shoulder injury or any other injury or her current
condition. ” Stipulation at ¶ 6.

       Nevertheless, on April 18, 2016, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned


1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

        The parties stipulate that petitioner shall receive the following compensation:

        A lump sum of $30,000.00, in the form of a check payable to petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of
        damages that would be available under 42 U.S.C. § 300aa-15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
                                                    2
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